               Case 22-15694-SMG        Doc 227      Filed 12/22/23       Page 1 of 6




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

 In re:                                              Case No. 22-15694-SMG

 DAREN C. DALY,                                      Chapter 11 (Sub V)

       Debtor
 _______________________________/

                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the Debtor’s Second Modified Subchapter V Plan

of Reorganization [ECF No. 226], Order (I) Setting Hearing on Confirmation of Modified

Subchapter V Plan; (II) Setting Hearing on Fee Applications; (III) Setting Various Deadlines and

(IV) Describing Debtor’s Obligations [ECF No. 220] and Chapter 11 Ballot was served via

CM/ECF Notification to all parties registered to receive electronic notice and/or via U.S. Mail or

Email to all parties on the attached service list on December 22, 2023.

Dated December 22, 2023.
                                             Respectfully submitted,

                                             DGIM Law, PLLC
                                             Counsel for the Debtor, Daren C. Daly
                                             2875 NE 191st Street, Suite 705
                                             Aventura, FL 33180
                                             Phone: (305) 763-8708

                                             /s/ Monique D. Hayes
                                             Isaac Marcushamer, Esq.
                                             Florida Bar No. 0060373
                                             isaac@dgimlaw.com
                                             Monique D. Hayes, Esq.
                                             Florida Bar No. 0841573
                                             monique@dgimlaw.com
              Case 22-15694-SMG          Doc 227       Filed 12/22/23   Page 2 of 6




                                         SERVICE LIST
Via Email
Daren C. Daly
daren@allpaving.com

All parties registered to receive electronic notice.
All parties on the attached mailing matrix.




                                                  2
                          Case 22-15694-SMG            Doc 227       Filed 12/22/23      Page 3 of 6
 1

 2

 3

 4                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
 5                                        FORT LAUDERDALE DIVISION
      IN RE:                                                       CASE NO: 22-15694-SMG
 6
       DAREN C DALY                                                DECLARATION OF MAILING
 7                                                                 CERTIFICATE OF SERVICE
                                                                   Chapter: 11
 8                                                                 ECF Docket Reference No. 226


 9

10

11   On 12/22/2023, I did cause a copy of the following documents, described below,
     Debtor's Second Modified Subchapter V Plan of Reorganization ECF Docket Reference No. 226
12
     Order Setting Hearing on Confirmation of Modified Subchapter V Plan; (II) Setting Hearing on Fee Applications; (III)
13   Setting Various Deadlines; and (IV) Describing Debtor's Obligations 220
     Ballot
14

15

16

17

18

19   to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
20   incorporated as if fully set forth herein.
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
21   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
22   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
23
     served electronically with the documents described herein per the ECF/PACER system.
24   DATED: 12/22/2023
                                                      /s/ Isaac Marcushamer
25                                                    Isaac Marcushamer 0060373

26                                                    DGIM Law, PLLC
                                                      2875 NE 191st Street, Suite 705
27                                                    Miami, FL 33180
                                                      305 763 8708
28                                                    colleen@dgimlaw.com
                              Case 22-15694-SMG                Doc 227         Filed 12/22/23          Page 4 of 6
 1

 2

 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                      SOUTHERN DISTRICT OF FLORIDA
                                           FORT LAUDERDALE DIVISION
 5
        IN RE:                                                           CASE NO: 22-15694-SMG
 6
        DAREN C DALY                                                     CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                         Chapter: 11
 8                                                                       ECF Docket Reference No. 226


 9

10

11   On 12/22/2023, a copy of the following documents, described below,

     Debtor's Second Modified Subchapter V Plan of Reorganization ECF Docket Reference No. 226
12
     Order Setting Hearing on Confirmation of Modified Subchapter V Plan; (II) Setting Hearing on Fee Applications; (III)
13   Setting Various Deadlines; and (IV) Describing Debtor's Obligations 220
     Ballot
14

15

16

17

18

19
     were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
20   postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
     herein.
21   The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
     referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
22   Service and that it is true and correct to the best of my knowledge, information, and belief.

23   DATED: 12/22/2023


24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Isaac Marcushamer
                                                                  DGIM Law, PLLC
28                                                                2875 NE 191st Street, Suite 705
                                                                  Miami, FL 33180
USPS FIRST CLASS MAILING Case  22-15694-SMG Doc 227 Filed 12/22/23 Page 5 of 6
                         RECIPIENTS:
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.

CASE INFO
1LABEL MATRIX FOR LOCAL NOTICING         ALL PAVING SEALCOATING LLC                ALL PAVING INC
NCRS ADDRESS DOWNLOAD                    2801 N UNIVRSITY DRIVE                    23123 N STATE ROAD 7
CASE 22-15694-SMG                        SUITE 302                                 SYITE 250
SOUTHERN DISTRICT OF FLORIDA             CORAL SPRINGS FL 33065-5054               BOCA RATON FL 33428-5489
FRI DEC 22 8-38-16 PST 2023




ALLY BANK                                ALLY BANK CO AIS PORTFOLIO SERVICES       AMERICREDIT FINANCIAL SERVICES    INC DBA
PO BOX 5703                              LLC                                       GM
CLEARWATER FL 33758-5703                 4515 N SANTA FE AVE DEPT APS              P O BOX 183853
                                         OKLAHOMA CITY OK 73118-7901               ARLINGTON TX 76096-3853




BROWARD COUNTY                           CADENCE BANK                              MEADOW RUN HOMEOWNERS ASSOCIATION   INC
CO RECORDS TAXES TREASURY                CO BUSH ROSS PA                           CO ZACH B SHELOMITH
ATTN BANKRUPTCY SECTION                  ATTN KATHLEEN L DISANTO   ESQ             2699 STIRLING ROAD SUITE C401
115 S ANDREWS AVE A-100                  PO BOX 3913                               FORT LAUDERDALE FL 33312-6598
FT LAUDERDALE FL 33301-1888              TAMPA FL 33601-3913



EXCLUDE                                                                            EXCLUDE
(U)SOTO LAW GROUP PA                     TOKYO CENTURY (USA) INC                   (U)ALL PAVING AND SEALCOATING LLC
                                         CO DENNIS DRESSLER                        BRUCE A GOODMAN
                                         DRESSLER PETERS LLC                       5531 N UNIVERSITY DRIVE SUITE 101POMPA
                                         70 W HUBBARD ST
                                         SUITE 200
                                         CHICAGO IL 60654-5677


                                                                                   EXCLUDE
ALL PAVING AND SEALCOATING LLC           ALL PAVING INC                            (D)ALLY BANK CO AIS PORTFOLIO SERVICES
BRUCE A GOODMAN                          10248 NW 62ND CT                          LLC
5531 N UNIVERSITY DRIVE                  POMPANO BEACH FL 33076-2349               4515 N SANTA FE AVE DEPT APS
POMPANO BEACH FL 33067-4649                                                        OKLAHOMA CITY OK 73118-7901




                                         EXCLUDE
ALLY FINANCIAL INC                       (D)AMERICREDIT FINANCIAL SERVICES   INC   BMO HARRIS BANK NA
ALLY DETROIT CENTER                      DBA GM                                    PO BOX 3040
500 WOODWARD AVE                         P O BOX 183853                            CEDAR RAPIDS IA 52406-3040
DETROIT MI 48226-3416                    ARLINGTON TX 76096-3853




                                                                                   EXCLUDE
BMO TRANSPORTATION FINANCE               BEST BUY CBNA                             (D)BROWARD COUNTY
300 E JOHN CARPENTER FREEWAY             POB 78009                                 CO RECORDS TAXES TREASURY
SUITE 500                                PHOENIX AZ 85062-8009                     ATTN BANKRUPTCY SECTION
IRVING TX 75062-2370                                                               115 S ANDREWS AVE A-100
                                                                                   FT LAUDERDALE FL 33301-1888




CIT BANK NA                              CADENCE BANK NA                           CAPITAL ONE BANK (USA) NA
10201 CENTRURION PARKWAY N 110           25 SOUTH LINKS AVENUE                     BY AMERICAN INFOSOURCE AS AGENT
JACKSONVILLE FL 32256-4101               SARASOTA FL 34236-5906                    PO BOX 71083
                                                                                   CHARLOTTE NC 28272-1083




(P)CATERPILLAR FINANCIAL SERVICES        CLAYTON TRIAL LAWYERS                     CLAYTON TRIAL LAWYERS PLLC
CORPORATION                              401 E LAS OLAS BLVD                       401 E LAS OLAS BLVD SUITE 1400
2120 WEST END AVENUE                     SUITE 1400                                FT LAUDERDALE FL 33301-2218
NASHVILLE TN 37203-5341                  FORT LAUDERDALE FL 33301-2218
USPS FIRST CLASS MAILING Case  22-15694-SMG Doc 227 Filed 12/22/23 Page 6 of 6
                         RECIPIENTS:
Parties with names struck through or labeled CM/ECF SERVICE were not served via First Class USPS Mail Service.


ELIZABETH DALY                            FIRST CITIZENS BANK TRUST COMAPNY       INTERNAL REVENUE SERVICE
BRUCE GOODMAN ESQ                         PO BOX 593007                           POB 7346
5531 N UNIVERSITY DRIVE                   SAN ANTONIO TX 78259-0200               PHILADELPHIA PA 19101-7346
POMPANO BEACH FL 33067-4649




ISUZU FINANCE OF AMERICA INC              KOMATSU FINANCIAL                       KUBOTA CREDIT CORPORATION USA
2500 WESTCHESTER AVE STE 312              CO LINDER INDUSTRIAL MACHINERY          1000 KUBOTA DRIVE
PURCHASE NY 10577-2578                    1601 S PLANT CITY FL 33563-2014         GRAPEVINE TX 76051-2334




EXCLUDE
(U)NAME ADDRESS1 ADDRESS2 ADDRESS3 CITY   NELNET                                  OFFICE OF THE US TRUSTEE
STATE Z                                   121 S 13TH STREET                       51 SW 1ST AVE
ALLY FINANCIAL INC ALLY DETROIT CENTER    LINCOLN NE 68508-1922                   SUITE 1204
5                                                                                 MIAMI FL 33130-1614
BEST BUY CBNA PO BOX 78009   PHOENIX AZ
BMO TRANSPORTATION FINANCE 300 E JOHN
CA
CAPITAL ONE BANK 1680 CAPITAL ONE DR
M

PATRICK DALY                              SUNTRUST MASTERCARD                     SYNCHRONY BANKPAYPAL CREDIT
BRUCE GOODMAN ESQ                         6260 POWERLINE ROAD                     POB 530975
5531 N UNIVERSITY DRIVE                   FORT LAUDERDALE FL 33309-2018           ORLANDO FL 32896-0001
POMPANO BEACH FL 33067-4649




TAX COLLECTOR PALM BEACH COUNTY           THE MEADOW RUN ASSOCIATION INC          THE SOTO LAW GROUP PA
ATTN ANNE M GANNON                        CO PAUL J MILBERG ESQ                   2400 E COMMERCIAL BLVD SUITE 400
POB 3353                                  5550 GLADES ROAD SUITE 630              FORT LAUDERDALE FL 33308-4026
WEST PALM BEACH FL 33402-3353             BOCA RATON FL 33431-7206




TOKYO CENTURY (USA) INC                   UHEALTH                                 US ATTORNEY GENERAL
CO DENNIS A DRESSLER                      POB 2978                                950 PENNSYLVANIA AVENUE    NW
DRESSLER PETERS LLC                       MUNICE IN 47307-0978                    WASHINGTON DC 20500
70 W HUBBARD ST STE 200
CHICAGO IL 60654-5677



                                                                                  DEBTOR
US DEPARTMENT OF EDUCATION                (P)U S ATTORNEYS OFFICE                 DAREN C DALY
400 MARYLAND AVENUE SW                    99 NE 4TH STREET SUITE 300              10248 NW 62 CT
WASHINGTON DC 20202-0001                  MIAMI FL 33132-2131                     POMPANO BEACH FL 33076-2349




ELIZABETH A DALY                          ISAAC M MARCUSHAMER ESQ                 MONIQUE D HAYES
8919 NW 20TH MANOR                        DGIM LAW PLLC                           DGIM LAW PLLC
CORAL SPRINGS FL 33071-6161               2875 NE 191ST STREET                    2875 NE 191 STREET
                                          SUITE 705                               SUITE 705
                                          AVENTURA FL 33180-2803                  AVENTURA FL 33180-2803



EXCLUDE
(U)PATRICK DALY                           TAREK KIRK KIEM
                                          PO BOX 541325
                                          GREENACRES FL 33454-1325
